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                                                                                   October 15, 2020

Hon. Sidney H. Stein
United States District Judge
United States District Court                                                       MEMO ENDIORSED
Southern District of New York
500 Pearl Street
New York, NY 10007

                                     Re:   United States v. Jimenez, et al.
                                           Docket No.: 18-CR-879 (SHS)

Dear Judge Stein:

       I am counsel to Defendant !reline Nunez. At the suggestion of Mr. Nunez's Pretrial
Services Officer, I write to request that the Court modify Ms. Nunez's conditions of release to
permit her to report to Pretrial Services via web only reporting.

        By way of background, on November 14, 2018, the Hon. Barbara C. Moses ordered Ms.
Nunez released on a $150,000 personal recognizance bond secured by the signatures of two
financially responsible persons. Ms. Nunez's pretrial supervision was to be as directed by
Pretrial Services, and her travel was limited to the Southern and Eastern Districts of New York.
Since her release 23 months ago, Ms. Nunez has remained fully compliant with all of the terms
of her release.

         I have spoken to the government, by AUSA Daniel Nessim, Esq., and they do not object
to this request.

          Your Honor's consideration is greatly appreciated.

                                                                         Respectfully submitted,

                                                                         Isl Edward V. Sapone
                                                                         Edward V. Sapone
Cc:       AUSA Daniel Nessim, Esq.
          PTSO Erin Cunningham                        Request granted.

                                                      Dated: New York, New York
                                                             October 16, 2020
